          FILED
    December 06, 2023
   CLERK, U.S. DISTRICT COURT
   WESTERN DISTRICT OF TEXAS

                MGR
BY: ________________________________
                        DEPUTY
knowingly and willfully conspired and agreed together and with others to commit offenses against

the United States, that is, knowingly exported and sent firearm parts from the United States,

specifically, components and parts for AR-15 rifles, and received, concealed, bought, and

facilitated the transportation of these firearm parts prior to exportation, knowing they were

intended for exportation contrary to any law or regulation of the United States, to wit, Title 15,

Code of Federal Regulations, Sections 774 and 736.2(b)(1), in that Defendants knew they did not

have a license or written authorization for such exports, in violation of Title 18, United States

Code, Section 554(a).

                                    MANNER AND MEANS

       The conspiracy was carried out through the following manner and means, among others:

       1.      Beginning on or about June 30, 2018, (1) CHANDLER BRITAIN BRADFORD of

New Braunfels, Texas, engaged in a multimillion-dollar scheme to illegally provide thousands of

AR-15 style firearms to                                            , a Mexican citizen who resided

in the Monterrey, Nuevo Leon, Mexico area. BRADFORD supplied enough firearm parts to arm

                        with approximately 4,800 AR-15-style rifles.

       2.      The AR-15 is a powerful semi-automatic rifle. The rifle is comprised of a

completed upper receiver and a completed lower receiver. A completed upper receiver is made up

of over 40 components, including the barrel, bolt carrier group, and charging handle. The upper

receiver connects these components to a lower receiver, which is made up of over 30 components

and can accept a magazine for ammunition once completed. The lower receiver begins life as a

partially completed “80% lower receiver,” which is finished into a “stripped lower receiver,” using

a milling tool. This receiver is affixed with other accessories and a lower parts kit, consisting of

components such as a trigger assembly, trigger parts, and pistol grip. Put together, the completed



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upper receiver and completed lower receiver create a fully functioning AR-15-style rifle. These

AR-15-style rifles are highly sought after by Mexican drug cartels for their firepower, reliability,

and use in protecting territory and trade.

         3.    A variety of these firearm parts—including completed upper receivers and 80%

lower receivers—are controlled for export from the United States to Mexico pursuant to Title 15,

Code of Federal Regulations, Sections 774 and 736.2(b)(1). Export of these parts to Mexico

requires a license obtained from the United States government.

         4.    BRADFORD never held a license to export controlled firearm parts from the

United States to Mexico. Nevertheless, BRADFORD provided the parts, tools, and counsel for

                       to facilitate a full firearm manufacturing enterprise in northern Mexico. For

years,                        ordered the parts and tools needed to build functioning AR-15 style

rifles from BRADFORD.                            ’s orders included specific amounts of completed

upper receivers, 80% lower receivers, lower receiver part kits, magazines, and manufacturing tools

such as firearm manufacturing jigs, milling tools, and drill bits. BRADFORD filled these orders

and prepared them for delivery to                         in Mexico.

         5.    Upon receiving gun part orders from                           , BRADFORD would

purchase the components needed to fill the orders. On the Internet, BRADFORD ordered the

components to assemble completed upper receivers in New Braunfels—including barrels, bolt

carrier groups, and charging handles. BRADFORD also ordered 80% lower receivers, as well as

the components making up lower receiver kits and other finishing parts needed for the function of

AR-15-style rifles. BRADFORD ordered these components from manufacturers in the United

States and China and had them shipped to him at addresses in New Braunfels.

         6.    Upon receiving these components, BRADFORD worked to complete



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              ’s orders. BRADFORD assembled completed upper receivers. BRADFORD applied

protective coating to the 80% lower receivers and gathered the remaining parts and tools that would

be needed to finish the AR-15s. BRADFORD packaged these parts so they could be provided to

                          for use in his firearm manufacturing operations.

       7.       BRADFORD’s brother-in-law, (6) TROY VERNON ERBE, assisted BRADFORD

by preparing some of the gun part shipments for                              . Specifically, ERBE built

out completed upper receivers to fill                          ’s orders. On some occasions, ERBE

communicated directly with                              to receive and discuss firearm part orders.

BRADFORD paid ERBE for his assistance in preparing the orders.

       8.       Once the finished parts requested by                                      were ready,

BRADFORD and ERBE would package them for delivery to Mexico. BRADFORD provided the

firearm parts to                          by at least two different means. Originally, BRADFORD

and ERBE shipped the parts intended for                            to a mail center in Laredo, Texas.

       9.       Beginning in 2021, however, BRADFORD began personally driving the packaged

gun parts to storage units near the Mexican border, including in Laredo and the Rio Grande Valley.

BRADFORD dropped the packaged gun parts off at storage units and texted photographs of the

packages to                           to confirm their delivery.

       10.                                instructed BRADFORD on which storage facilities

BRADFORD should use for delivery, as well as how to access the storage units. BRADFORD

also obtained his own storage unit in Pharr, Texas, for use in the conspiracy, with

              s assent.

       11.      Once the gun part packages were left in the storage units,

arranged for their retrieval through the use of various couriers. One member of the conspiracy, a



                                                   4
truck driver, accessed the storage units where BRADFORD delivered gun parts in Laredo. There,

the co-conspirator would unpack the boxes and repackage them so they could be smuggled to

Monterrey by truck drivers in the conspiracy.

       12.     These truck drivers, including                                                    ,

retrieved the packaged gun parts from the storage units in Laredo and smuggled them into Mexico

by concealing them in trucks.

       13.     In addition to equipping                         with the parts and tools needed to

build out finished AR-15 rifles, BRADFORD provided                                with advice on

manufacturing firearms.                                would contact BRADFORD if there were

problems with the quality of the guns or gun parts, and BRADFORD would help

             troubleshoot these technical problems to ensure that the firearm manufacturing

operations in Mexico succeeded.

       14.     In exchange for BRADFORD’s services, and to provide BRADFORD with capital

to continue buying gun parts for the conspiracy,                       coordinated the movement

of large amounts of money to BRADFORD.                               arranged for BRADFORD to

receive wire transfers from Mexican companies, and bulk sum deposits to BRADFORD’s bank

account made by individuals in Mexico and South Texas. These companies had addresses in

Mexico that were reflected on the wire receipts when money would be transferred to

BRADFORD’s account.                                notified BRADFORD when BRADFORD was

going to be paid, as well as the amounts of money BRADFORD would be receiving. BRADFORD

kept                        informed about any balance that                         owed him for

his expenditures on gun parts.

       15.     In total, BRADFORD received over $3.5 million from                          , some



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of which profited BRADFORD and some of which BRADFORD used to continue buying more

gun parts in furtherance of the conspiracy.

                                           OVERT ACTS

       In furtherance of the conspiracy and to effect and accomplish its objects, Defendants

committed, among others, the overt acts listed below, in the Western and Southern Districts of

Texas, and the Republic of Mexico:

       16.     On October 16, 2020, BRADFORD shipped two packages containing 10 upper

receivers with 7” handguards and 10 receivers with A2 front sights to a mail center in Laredo,

Texas. BRADFORD texted the FedEx tracking numbers and description of the contents to

                      .                          responded, “You are fast gringo, thank you.”

BRADFORD answered, “De nada.” On October 17, 2020, BRADFORD told

             that                          owed him $12,000, but added, “I’ll see what else I can

ship though and let you know this afternoon.” BRADFORD told                             he would

be traveling to Mexico, and                           offered to personally pay BRADFORD there,

in pesos or dollars. BRADFORD told                            , “Maybe $1.5k usd worth of pesos.

And usd dollars if you’d like. Save the wire ha.” On October 23, 2020, BRADFORD met with

                          in Cabo San Lucas, Baja California Sur, Mexico.

       17.     On November 6, 2020,                             asked BRADFORD by text if he

could send “some uppers.” BRADFORD responded, “Yes 10 7” and 5 A2 today,” referring to 10

upper receivers with 7” handguards and five receivers with A2 front sights. The same day,

BRADFORD provided                                with two FedEx tracking numbers for packages

containing these firearm parts. BRADFORD shipped these packages to a mail center in Laredo,

addressed to a third party. On November 10, 2020, BRADFORD informed



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that                      ’s “balance” was $24,225. That day, BRADFORD received nearly

$10,000 in his bank account, in the form of two wire transfers from a company in Monterrey,

Nuevo Leon, Mexico.

       18.    On December 1, 2020, BRADFORD shipped two packages containing upper

receivers to a mail center in Laredo and texted the FedEx tracking numbers to

             . On December 4, 2020, BRADFORD texted                                 , “Morning

sweetie, I have not received money yet.”                            answered, “Calling thosee

stupidos now give me a second sweet heart.” That day, BRADFORD received a wire transfer into

his checking account for approximately $6,000 from a company in Mexico. On December 7, 2020,

BRADFORD told                           that                       ’s balance for the week was

$19,400. On December 8, 2020, BRADFORD received two more wire transfers into his checking

account from the same Mexican company, totaling over $6,000. That day, BRADFORD texted

                      , “6k came in Mexican.”

       19.    In 2021, BRADFORD and                               switched their strategy from

delivery by FedEx to personal drop-offs of gun parts at storage units. On June 7, 2021,

BRADFORD sent                           a photo of a storage unit and an address in Laredo.

       20.    BRADFORD provided counsel to                             regarding the quality of

the products. On June 22, 2021,                        told BRADFORD there was a problem

with the lower part kits. BRADFORD answered, “I will try to find out. It may have been the

lowers. The lowers sending you next week will be from the company I used many times before.”

On June 23, 2021,                       told BRADFORD there was another problem, that some

of the uppers would not fit on the lowers, and sent BRADFORD a photo of a completed lower

receiver next to a completed upper receiver. BRADFORD answered by offering manufacturing



                                                7
advice to                       .

       21.     These efforts continued. On September 23, 2022, BRADFORD informed

              by text message that he would be delivering “100 uppers,” referring to completed

upper receivers. ERBE assisted BRADFORD in preparing this order by assembling the completed

AR-15 upper receivers and providing them to BRADFORD.

       22.     On September 26, 2022, BRADFORD drove from New Braunfels to Laredo in his

truck and delivered boxes to a storage unit. These boxes contained approximately 100 completed

AR-15 upper receivers with 7.5” barrels. BRADFORD texted a photo of these boxes to

              Law enforcement seized these firearm parts before they could be picked up for

delivery to                         by executing a search warrant on the storage unit.

       23.     On October 1, 2022,                          texted BRADFORD regarding an order

for “complete uppers and mags.” ERBE assisted BRADFORD in preparing this order by

assembling completed AR-15 upper receivers and providing them to BRADFORD.

       24.     On October 4, 2022, BRADFORD drove from New Braunfels to Laredo in his truck

and delivered boxes to a storage unit. These boxes contained, among other gun parts,

approximately 80 completed AR-15 upper receivers with 7.5’’ barrels and approximately 100

high-capacity 5.56 magazines. BRADFORD texted a photo of these boxes to



       25.     On October 4, 2022, a co-conspirator arrived at the storage unit in Laredo and began

unpacking, then re-packing the gun parts so they could be smuggled into Mexico by other members

of the conspiracy. Law enforcement interrupted this process and seized the firearm parts.

       All in violation of Title 18, United States Code, Section 371.




                                                  8
                                           COUNT TWO
                                         [18 U.S.C. § 933]

       That from on or about June 25, 2022, and continuing up until on or about October 4, 2022,

in the Western and Southern Districts of Texas, and the Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                                                       ,
                                (6) TROY VERNON ERBE,

knowingly conspired to ship, transport, transfer, cause to be transported, and otherwise dispose of

any firearm, to wit, AR-15 style rifles, to another person, in and affecting interstate and foreign

commerce, having reasonable cause to believe that the use of the firearm by the recipient would

constitute a felony, to wit, Conspiracy to Possess Firearms in Furtherance of a Drug Trafficking

Crime, in violation of 18 United States Code, Section 933.

                                        COUNT THREE
                                      [18 U.S.C. § 924(h)]

       That from on or about June 25, 2022, and continuing up until on or about October 4, 2022,

in the Western and Southern Districts of Texas, and the Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                                                       ,
                                (6) TROY VERNON ERBE,

knowingly conspired to transfer firearms, to wit, AR-15 style rifles, to another person, having

reasonable cause to believe that such firearm or ammunition would be used to commit a felony, to

wit, Conspiracy to Possess Firearms in Furtherance of a Drug Trafficking Crime, in violation of

18 United States Code, Section 924(h).

                                         COUNT FOUR
                                     [18 U.S.C. §§ 554(a), 2]

       On or about February 9, 2021, in the Western and Southern Districts of Texas, and the

Republic of Mexico, Defendants,


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                           (1) CHANDLER BRITAIN BRADFORD,
                                                        ,

aided and abetted by others, attempted to knowingly export and send firearm parts from the United

States, to wit, approximately 4,000 M1919 machinegun belt links, and bought and facilitated the

transportation of these firearm parts prior to exportation, knowing them to be intended for

exportation contrary to Title 22, United States Code, Section 121.1, Category III, in that

Defendants knew they did not have a license or written authorization for such export, in violation

of Title 18, United States Code, Sections 554(a) and 2.

                                         COUNT FIVE
                                     [18 U.S.C. §§ 554(a), 2]

       On or about July 20, 2022, in the Western and Southern Districts of Texas, and the Republic

of Mexico, Defendants,

                           (1) CHANDLER BRITAIN BRADFORD,
                                                        ,

aided and abetted by others, attempted to knowingly export and send ammunition from the United

States, to wit, approximately 250 rounds of Federal 12-gauge shot shell ammunition, and bought

and facilitated the transportation of this ammunition prior to exportation, knowing it to be intended

for exportation contrary to Title 15, Code of Federal Regulations, Sections 774 and 736.2(b)(1),

in that Defendants knew they did not have a license or written authorization for such export, in

violation of Title 18, United States Code, Sections 554(a) and 2.




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                                          COUNT SIX
                                     [18 U.S.C. §§ 554(a), 2]

       On or about September 26, 2022, in the Western and Southern Districts of Texas, and the

Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                                                       ,
                                (6) TROY VERNON ERBE,

aided and abetted by each other, and others, attempted to knowingly export and send firearm parts

from the United States, to wit, approximately 100 completed AR-15 upper receivers with 7.5”

barrels, and bought, concealed, and facilitated the transportation and concealment of these firearm

parts prior to exportation, knowing them to be intended for exportation contrary to Title 15, Code

of Federal Regulations, Sections 774 and 736.2(b)(1), in that Defendants knew they did not have

a license or written authorization for such export, in violation of Title 18, United States Code,

Sections 554(a) and 2.

                                        COUNT SEVEN
                                     [18 U.S.C. §§ 554(a), 2]

       On or about October 4, 2022, in the Western and Southern Districts of Texas, and the

Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                                                       ,
                                (6) TROY VERNON ERBE,

aided and abetted by each other, and others, attempted to knowingly export and send firearm parts

from the United States, to wit, approximately 80 completed AR-15 upper receivers with 7.5’’

barrels and approximately 100 high-capacity 5.56 magazines, and bought, concealed, and

facilitated the transportation and concealment of these firearm parts prior to exportation, knowing

them to be intended for exportation contrary to Title 15, Code of Federal Regulations, Sections



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774 and 736.2(b)(1), in that Defendants knew they did not have a license or written authorization

for such export, in violation of Title 18, United States Code, Sections 554(a) and 2.

                                        COUNT EIGHT
                                      [18 U.S.C. § 1956(h)]

       That from on or about August 12, 2019, and continuing until on or about October 4, 2022,

in the Western and Southern Districts of Texas, and the Republic of Mexico, Defendants,

                           (1) CHANDLER BRITAIN BRADFORD,
                                                        ,
                                 (6) TROY VERNON ERBE,

knowingly combined, conspired, and agreed with each other and others to commit offenses against

the United States in violation of Title 18, United States Code, Section 1956, to wit: to transport,

transmit and transfer and attempt to transport, transmit and transfer a monetary instrument and

funds to a place in the United States from and through a place outside the United States with the

intent to promote the carrying on of a specified unlawful activity, that is, Smuggling of Goods

from the United States, in violation of Title 18, United States Code, Section 554(a), in violation of

Title 18, United States Code, Section 1956(a)(2)(A), and all in violation of Title 18, United States

Code, Section 1956(h).

              NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                           [See Fed. R. Crim. P. 32.2]

                                             I.
  Conspiracy to Smuggle Goods from the United States Violation and Forfeiture Statutes
           [Title 18 U.S.C. §§ 371 and 554(a), subject to forfeiture pursuant to
               Title 18 U.S.C. § 981(a)(1)(C) and Title 19 U.S.C. § 1595a(d),
           as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violations set forth in Count One and Counts Four through

Seven, the United States of America gives notice to Defendants (1) CHANDLER BRITAIN

BRADFORD,                                                           ,

                          and (6) TROY VERNON ERBE of its intent to seek the forfeiture of

                                                 12
the property listed below upon conviction and pursuant to Fed. R. Crim. P. 32.2, Title 18 U.S.C. §

981(a)(1)(C) and Title 19 U.S.C. § 1595a(d), as made applicable to criminal forfeiture by Title 28

U.S.C. § 2461, which state:

       Title 18 U.S.C. § 981. Civil Forfeiture
              (a)(1) The following property is subject to forfeiture to the United States:
              ***
              (C) Any property, real or personal, which constitutes or is derived from proceeds
              traceable to a violation . . . of this title or any offense constituting “specified
              unlawful activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to
              commit such offense.

       Title 19 U.S.C. § 1595a. Forfeiture and other penalties
               ***
              (d) Merchandise exported contrary to law
                Merchandise exported or sent from the United States or attempted to be exported
                or sent from the United States contrary to law, or the proceeds or value thereof,
                and property used to facilitate the exporting or sending of such merchandise, the
                attempted exporting or sending of such merchandise, or the receipt, purchase,
                transportation, concealment, or sale of such merchandise prior to exportation
                shall be seized and forfeited to the United States.

        Title 18 U.S.C. § 554 Smuggling Goods from the United States is an offense constituting
“specified unlawful activity” as defined in Title 18 U.S.C. § 1956(c)(7).

                                                II.
                   Firearms Trafficking Violations and Forfeiture Statutes
[Title 18 U.S.C. § 933, subject to forfeiture pursuant to Title 18 U.S.C § 934(a)(1)(A) and (B)]

       As a result of the criminal violation set forth in Count Two, the United States of America

gives notice to Defendants (1) CHANDLER BRITAIN BRADFORD,

                        and (6) TROY VERNON ERBE of its intent to seek the forfeiture of the

property listed below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

934(a)(1)(A) and (B), which state:

       Title 18 U.S.C. § 934. - Forfeiture and Fines
       (a) Forfeiture.
         (1) In General. — Any person convicted of a violation of section 932 or 933 shall forfeit
         to the United States, irrespective of any provision of State law—



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           (A) any property constituting, or derived from, any proceeds the person obtained,
           directly or indirectly, as the result of such violation; and
           (B) any of the person’s property used, or intended to be used, in any manner or
           part, to commit, or to facilitate the commission of, such violation, except that
           for any forfeiture of any firearm or ammunition pursuant to this section, section
           924(d) shall apply.

                                               III.
                         Firearms Violations and Forfeiture Statutes
  [Title 18 U.S.C. § 924(h), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1), as
              made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violations set forth in Count Three, the United States of America

gives notice to Defendants (1) CHANDLER BRITAIN BRADFORD,

                           and (6) TROY VERNON ERBE of its intent to seek the forfeiture of the

property listed below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

924(d)(1), as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461, which states:

       Title 18 U.S.C. § 924. Penalties
        (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
        subsection (a)(4), (a)(6), (f), (g), (h), (i), (j), or (k) of section 922, or knowing importation
        or bringing into the United States or any possession thereof any firearm or ammunition in
        violation of section 922(l), or knowing violation of section 924, shall be subject to seizure
        and forfeiture under the provisions of this chapter. . .

                                              IV.
                   Money Laundering Violation and Forfeiture Statutes
  [Title 18 U.S.C. § 1956(h), subject to forfeiture pursuant to Title 18 U.S.C. § 982(a)(1)]

       As a result of the criminal violation set forth in Count Eight, the United States of America

gives notice to Defendants (1) CHANDLER BRITAIN BRADFORD,

                           and (6) TROY VERNON ERBE of its intent to seek the forfeiture of the

property listed below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

982(a)(1), which states:

       Title 18 U.S.C. § 982.




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             (a)(1) The court, in imposing sentence on a person convicted of an offense in
             violation of section 1956, 1957, ... of this title, shall order that the person forfeit to
             the United States any property, real or personal, involved in such offense, or any
             property traceable to such property.

      The Notice of Demand for Forfeiture includes but is not limited to the Personal Property

and Money Judgment described in Paragraphs V and IV.

                                          V.
                                  PERSONAL PROPERTY

(1) CHANDLER BRITAIN BRADFORD:
  1.  Box 1 Containing 25 AR-15 Upper Receivers W/ BCG and Charging Handle, Quad Rail,
      Black 7.5" Barrels;
  2.  Box 2 Containing 15 AR-15 Upper Receivers W/ BCG and Charging Handle, Quad Rail,
      Black 7.5" Barrels;
  3.  Box 3 Containing 10 AR-15 Upper Receivers W/ BCG and Charging Handle, Quad Rail,
      Stainless Steel 7.5" Barrels;
  4.  Box 4 Containing 20 AR-15 Upper Receivers W/ BCG and Charging Handle, Quad Rail,
      Stainless Steel 7.5" Barrels;
  5.  Box 5 Containing 10 AR-15 Upper Receivers W/ BCG and Charging Handle, Quad Rail,
      Black 7.5" Barrels, 20 AR-15 Upper Receivers W/ BCG/Ch, Quad Rail, Stainless Steel
      7.5" Barrels;
  6.  One Box of 3 80% Receivers, Easy Jig And Jig Router;
  7.  160 Rounds Assorted Manufacturer Ammunition CAL: Assorted;
  8.  $2,668.00, more or less, in U.S. Currency;
  9.  Assorted Firearm Parts (Polymer80, Palmetto State Armory & Bear Creek Arsenal Parts);
  10. Assorted Firearm Parts (Rubber Bin Containing Various Parts);
  11. Firearm Parts, AR Rails, 8 Boxes X 25 Each, 200 Total;
  12. Assorted Firearm Parts;
  13. Assorted Firearm Parts;
  14. 140 Buffer Tubes And Springs, Firearm Parts;
  15. 134 PMAG 30 Round M4/AR;
  16. 106 Stocks for AR;
  17. 124 Firearm Parts, AR Rails;
  18. 81 Firearm Parts Charging Handles;
  19. 155 Firearm Parts, Stock Pads;
  20. 43 Firearm Parts, Handgrips & Trigger Assembly;
  21. 99 AR Upper Receiver, Firearm Parts;
  22. Assorted Firearm Parts, 10 80% Lowers, 11 Receivers, AR Upper Receiver, 10 5.56 Full
      Auto, Bolt Carrier Group, 4 Pistol Brace Kits, Lower Parts Kit;
  23. 100, 7.5 Inch 223 Barrels;
  24. Storage Bin with Multiple Drawers Containing Lower Parts For AR-15;
  25. Firearm Parts, AR Rails and Scopes;
  26. Assorted Firearm Parts, Muzzle Breaks and Misc. Parts;


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 27.   AIC - Builder Parts, Router 8 Drilling Blanks, Drill Bits, Manufacturing Tools;
 28.   5 AR Kits W/ 80% Lower;
 29.   2,860 Rounds Assorted Manufacturer Ammunition CAL: Assorted;
 30.   Central Machinery 12 Speed Bench Drill Press;
 31.   AR Handgrips, Muzzle Breaks, Charging Handles, Misc. Parts;
 32.   Charging Handles, AR Grips, Muzzle Breaks and Misc. Parts;
 33.   High-Capacity Mags for AR & Shotgun, Shotgun Stocks, 2 Barrels;
 34.   Firearm Parts, Misc. Barrels, AR Barrels, Glock Barrels;
 35.   Firearm Parts, Misc. Manufacturing Tools, Jigs, AR Armorer Mount, Scale;
 36.   One Box Containing Misc. Firearm Parts, Armorer Mat, Glock Parts, Foregrips;
 37.   Seven AR-15 Completed Upper Receivers, Two Have Barrels Less Than 16";
 38.   5 Magazines and Other Firearm Accessories;
 39.   3 Glock Style Slides with Barrels;
 40.   2,723 Rounds Assorted Manufacturer Ammunition CAL: Assorted;
 41.   Five High-Capacity Magazines, Other Misc. Firearm Parts and 2 Magazines;
 42.   36 Gun Rhino Safe, Model: CD6030X, Blue;
 43.   50 Bolt Carrier Groups in Box From R&J Legacy Inc., Box 1 Of 2;
 44.   50 Bolt Carrier Groups in Box From R&J Legacy Inc., Box 2 Of 2;
 45.   Approximately 203 AR-15 Barrel Nuts In A Box From Jack At CSS Technology Solution
       Co LTD In Hong Kong, China; Shipped September 28, 2022;
 46.   40 AR-15 Quad Handrails in a box from Jack at CSS Technology Solution Co. LTD in
       Hong Kong, China; Shipped September 28, 2022;
 47.   40 AR-15 Quad Handrails in a box from Jack at CSS Technology Solution Co. LTD in
       Hong Kong, China; Shipped September 28, 2022;
 48.   40 AR-15 Quad Handrails in a box from Jack at CSS Technology Solution Co. LTD in
       Hong Kong, China; Shipped September 28, 2022;
 49.   40 AR-15 Quad Handrails in a box from Jack at CSS Technology Solution Co. LTD in
       Hong Kong, China; Shipped September 28, 2022;
 50.   40 AR-15 Quad Handrails in a box from Jack at CSS Technology Solution Co. LTD in
       Hong Kong, China; Shipped September 28, 2022;
 51.   418 One Ounce Coins (Silver);
 52.   12 Two Ounce Coins (Silver);
 53.   1 Five Ounce Coin (Silver);
 54.   81 Assorted Coin Collection (62 Silver, 19 Gold);
 55.   3 One Ounce Coins (Silver);
 56.   2023 Chevrolet Corvette Coupe, VIN: 1G1YA2D40P5113302;
 57.   2022 Ford Bronco Utility, VIN: 1FMDE5BH8NLA91636;
 58.   Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses; and
 59.   Any property constituting or derived from, any proceeds the person(s) obtained directly or
       indirectly, as a result of the commission of the criminal offenses.

(6) TROY VERNON ERBE:
  60. One Box Containing 48, 556 Palmetto State Armory Bolt Carrier ;
  61. One Box Containing Misc. Firearm Parts and Drill Accessories And Receipts;
  62. One Box Containing 46 Handguards;


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 63.   Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses; and
 64.   Any property constituting or derived from, any proceeds the person(s) obtained directly or
       indirectly, as a result of the commission of the criminal offenses.

                                             VI.
                                        Money Judgment

Money Judgment: A sum of money that represents the amount of proceeds obtained, directly or
indirectly, property involved in such offenses, or traceable to such property as a result of the
violations set forth in Counts One and Two and Counts Four through Eight, for which Defendants
(1) CHANDLER BRITAIN BRADFORD,                                                             ,
                                               and (6) TROY VERNON ERBE are individually
liable.

                                              VII.
                                        Substitute Assets

       If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of the Defendants:

       a.      cannot be located upon the exercise of due diligence;
       b.      has been transferred or sold to, or deposited with, a third party;
       c.      has been placed beyond the jurisdiction of the court;
       d.      has been substantially diminished in value; or
       e.      has been commingled with other property which cannot be divided without
               difficulty;

it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute assets, pursuant to Title 21 U.S.C. 853(p) and Fed. R.

Crim. P. 32.2(e)(1).

                                              A TRUE BILL


                                              FOREPERSON OF THE GRAND JURY
       JAIME ESPARZA
       UNITED STATES ATTORNEY

BY:    ________________________________
       FOR WILLIAM F. CALVE
       Assistant United States Attorney



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